Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 1 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 2 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 3 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 4 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 5 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 6 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 7 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 8 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document      Page 9 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document     Page 10 of 11
Case 11-61694-jms   Doc 11    Filed 01/30/12 Entered 01/30/12 16:43:27   Desc Main
                             Document     Page 11 of 11
